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                 EXHIBIT B-083
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                   IN THE SUPEIUOR COURT OF FULTON COUNTY
                                                                                    FILED IN OFFICE
                                     STATE OF GEORGIA


INRE:                                         )                                    OCPUTY Clf:        H,( rt COURT
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024                    FULrON COllt'1Y, CA

                                              )
Witness:                                      )       Judge Robert C. I. McBurney
Sidney Katherine Powell                       )


     PETITION FOR CERTIFICATION OF NEED FOR TESTIMONY BEFORE
    SPECIAL PURPOSE GRAND JURY PURSUANT TO THE UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.


       COMES NOW the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, and petitions this Honorable Court for a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. §

24-13-92 et seq., and in support thereof says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, Et Seq, "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions
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    related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is

    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Sidney Katherine Powell, born May 1, 1955, (hereinafter, "the Witness") is a

    necessary and material witness to the Special Purpose Grand Jury's investigation.

    Through both its investigation and through publicly available information, the State

    has learned the following information.

 4. The Witness is known to be affiliated with both former President Donald Trump and

    the Trump Campaign.

 5. In December 2021, L. Lin Wood, an attorney licensed in Georgia, stated in a public

    media interview with CNBC that he hosted meetings at a plantation in South Carolina

    for the purpose of exploring options to influence the results of the November 2020

    elections in Georgia and elsewhere. Wood stated that the Witness, Michael Flynn,

    Patrick Byrne, Doug Logan, and other individuals known to be associated with the

    Trump Campaign attended the meetings. Wood further stated that the Witness asked

    him to assist in identifying Georgia residents who would be willing to serve as

   . plaintiffs in Georgia election contest lawsuits.

 6. In June 2022, the United States House of Representatives Select Committee to

    Investigate the January 6th Attack released a deposition of the Witness in which she

    stated that in the weeks after the November 2020 election, former President Trump
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    asked her "to be a special counsel to address the election issues and to collect

    evidence, and he was extremely frustrated with the lack of law enforcement by any of

    the government agencies that are supposed to act to protect the rule oflaw in our

    republic."

 7. On August 16, 2022, the Georgia Bureau of Investigation confirmed that it is

    currently assisting the Georgia Secretary of State's Office with an investigation into

    an alleged breach of elections data in Coffee County, Georgia. Publicly reported e-

    mails indicate that the Witness coordinated with SullivanStrickler, a data solutions

    company, to obtain elections data from Coffee County, Georgia, in early January

    2021. There is further evidence in the public record that indicates that the Witness

    was involved in similar efforts in Michigan and Nevada during the same time period.

 8. The Witness, based on the above, is a necessary and material witness. The Witness

    possesses unique knowledge concerning the logistics, planning, and subject matter of

    the meetings at the South Carolina plantation. The Witnesses possess unique

    knowledge concerning the logistics, planning, and outcome of efforts to obtain

    elections data in Georgia and elsewhere. The Witness possesses unique knowledge

    concerning relevant communications between the Witness, former President Donald

    Trump, the Trump Campaign, and other known and unknown individuals involved in

    the multi-state, coordinated efforts to influence the results of the November 2020

    elections in Georgia and elsewhere. Finally, the Witness's anticipated testimony is

    essential in that it is likely to reveal additional sources of information regarding the

    subject of this investigation.
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 9. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 10. The Witness resides outside the jurisdiction of this Honorable Court and is therefore

    unable to be served with process to compel attendance and testimony.

 11. The Witness currently resides in Dallas, Dallas County, Texas.

 12. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Thursday, September 22, 2022, at 9:00 a.m. The District

    Attorney reasonably anticipates that the Witness's testimony will not exceed one day.

 13. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with the Uniform Act

    to Secure the Attendance of Witnesses from Without a State in Criminal Proceedings.

    See O.C.G.A. §24-13-90 et seq.

 14. If the Witness comes into the State of Georgia pursuant to this request, directing the

    Witness to attend and testify before the Special Purpose Grand Jury, the laws of this

    State shall give the Witness protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters
                                              '
    which arose before the Witness's entrance into this State and other states.

 15..Both Georgia and Texas have adopted the Uniform Act to Secure the Attendance of

    Witnesses from Without a State in Criminal Proceedings. See O.C.G.A. § 24-13-90;

    Tex. Code Crim. Proc. Art. 24.28.
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       WHEREFORE, the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, prays that this Honorable Court issue a

Certificate ofNeed for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. § 24-

13-92 et seq., certifying to the proper authorities in the jurisdiction in which the Witness is located

that the Witness is a necessary and material witness whose attendance and testimony is required

for the above-referenced Special Purpose Grand Jury investigation, and the presence of the

Witness will be needed for the number of days specified above,

       Respectfully submitted this the 19th day of August, 2022,

                                                       FANI T. WILLIS
                                                       DISTRICT ATTORNEY
                                                       A ANTA JUDICIAL CIRCUIT




                                                       136 Pryor Street Southwest
                                                       Third Floor
                                                       Atlanta, Georgia 30303
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                    Exhibit A
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IN RE: REQUEST FOR
       SPECIAL PURPOSE




       The District Attorney for the AtlantaJudicial Circuitsubmitted to the judges of the

Superior Col!lt of Fulton Cow1tya requestto impanela specialpurposejury for the purposesset

forth in that request. This request was consideredand approvedby a majority of the total

number of the judges of this Court, as requiredby O.C.G.A.§15-12-I00(b).

       IT IS THEREFORE ORDEREDthat a specialpmposegrandjury be drawn and

impaneledto serve as provided in O.C.G.A.§ 15-12-62.1,15-12-67,and 15-12-100,to

commenceon May 2, 2022, and continuingfor a period not to exceed 12 months. Such period

shall not include any time periodswhen the supervisingjudge determinesthat the special

purpose grandjury cannot meet for safety or other reasons,or any time periods whennormal

court operations are suspendedby order of the SupremeCourt of Georgia or the Chief Judge of

the Superior Court. The special purpose grandjury shall be authorizedto investigateany and all

facts and circumstancesrelating directly or indirectlyto allegedviolationsof the laws of the

State of Georgia, as set forth in the requestof the DistrictAttorneyreferenced herein above.

       Pursuant to O.C.G.A, § 15-12-JOl(a),the HonorableRobert C. I. McBumey is hereby

assigned to supervise and assist the specialpurpose grandjmy, and shall charge said special

purpose grandjury and receive its reports as providedby law.
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       Thia authorization shall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jury's investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

tit. Furthermore, the provisions ofO.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grandjury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of criminal matters that has accumulated as a

result oft11e COVID-19 Pandemic.




                               CHRISTOP          S. BRASHER;@!IEF JUDGE
                               Superior Court of Fulton County
                               Atlanta Judicial Circuit
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                     Exhibit B
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                    OFFICE OF THE FULTONCOUNTYDISTRICTATTORNEY
                                ATW'ITAJUOIC!ALCIRCUIT
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    The Honorable Christopher S. Brasher
    ChiefJudge, Fulton County SuperiorCourt                                  FILED IN OFFICE
    Fulton County Courthouse                                                                       JJ
    185CentralAvenue SW, Suite T-8905
    Atlanta, Georgia30303

    January20, 2022

    Dear Chief Judge Brasher:

    I hope this Jetter finds you well and in good spirits.Pleasebe advisedthat the DistrictAttorney's
    Officehas received infonnation indicatinga reasonableprobabilitythat the State of Georgia's
    administrationof elections in 2020, includingthe State's electionof the Presidentof the United
    States,was subject to possible criminaldisruptions.Our officehas also ]earnedthat individuals
    associatedwith these disruptions have contactedother agenciesempoweredto investigatethis
    matter, includingthe Georgia Secretaryof State,the GeorgiaAttorneyGeneral, and the United
    StatesAttorney's Office for the NorthernDistrictof Georgia,leavingthis office as the sole
    agencywith jurisdiction that is not a potentialwitnessto conductrelated to the matter.As a
    result,our office has opened an investigationinto any coordinatedattempts to unlawfullyalter
    the outcomeof the 2020 electionsin this state.

    We have made efforts to interviewmultiple witnessesand gatherevidence, and a significant
    numberof witnesses and prospectivewitnesseshaverefusedto cooperatewith the investigation
    absenta subpoenarequiring their testimony.By way of example,GeorgiaSecretaryof State
    BradRaffensperger,an essential witnessto the investigation,has indicated that he will not
    participatein an interview or otherwiseoffer evidenceuntil he is presented with a subpoenaby
    my office.Please see Exhibit A, attachedto this letter.

    Therefore,I am hereby requesting,as the electedDistrictAttorneyfor Fulton County,pursuant
    to O.C.G.A.§ 15-12-100et. seq., that a special purposegrandjury be impaneled for the purpose
    of investigatingthe facts and circumstancesrelatingdirectlyor indirectlyto possible attemptsto
    disruptthe lawful administrationof the 2020 electionsin the State of Georgia. Specifically,a
    specialpurpose grand jury, which will not have the authorityto return an indictment but may
    makerecommendationsconcerning criminalprosecutionas it shall see fit, is needed for three
    reasons:first, a special purpose grand jury can be impaneledby the Court for any time period
    requiredin order to accomplish its investigation,whichwill likely exceed a nonnal grandjury
        Case 1:23-cv-03721-SCJ Document 1-94 Filed 08/21/23 Page 12 of 12




   term; second, the special purpose grandjury wouldbe empoweredto reviewthis matter and this
   matter only, with an investigatory focus appropriateto the complexityof the facts and
   circumstancesinvolved; and third, the sitting grandjury wouldnot be required to attemptto
   addressthis matter in addition to their normalduties.

   Additionally,I am requesting that, pursuantto O.C.G.A.§ 15-12-101,a Fulton CountySuperior
   CourtJudge be assigned to assist and supervisethe specialpurposegrandjury in carryingout its
   investigationand duties.

   I have attacheda proposed order impanelingthe specialpurposegrandjury for the consideration
   of the Court.

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  -mstrict Attorney, Atlanta Judicial Circuit

   ExhibitA: Transcript of October 31, 202l episodeof Meetthe Presson NBC News at 26:04
   (videoarchivedat https://www.youtube.com/watch?v==B71cBRPgt9k)
   ExhibitB: Proposed Order

   cc:
   TheHonorableKimberly M, EsmondAdams
  The HonorableJane C, Barwick
  The HonorableRachelle Carnesda!e
  The HonorableThomas A. Cox, Jr.
  The HonorableEric Dunaway
  The HonorableCharles M. Eaton, Jr.
  The HonorableBelinda E. Edwards
  TheHonorableKelly Lee Ellerbe
  The HonorableKevin M. Farmer
  The HonorableUral GlanviJle
  The HonorableShakura L. Ingram
  The HonorableRachel R. Krause
  The HonorableMelynee Leftridge
  The HonorableRobert C.I. McBumey
  The HonorableHenry M. Newkirk
  The HonorableEmily K. Richardson
  The HonorableCraig L. Schwall, Sr.
  The HonorablePaige Reese Whitaker
  The HonorableShermela J. Williams
  FultonCounty Clerk of Superior Court ,Cathelene"Tina" Robinson
